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JOHN R. GARNER, Esq. REN 246729
PETER C.L. CHEN, Esq. (SBN 246720
CAITLIN J. HOFFMAN,

GARNER & ASSOCIATE
520 Capitol Mall, Ste. 280
Sacramento, CA 95814
Telephone: (530) 934-3324
john @ garner-associates.com
peter @ garner-associates.com
caitlin @ garner-associates.com

LLP

 

 

Attorneys for Plaintiff
Scott Duthie

[Additional Counsel on Signature Page]

SCOTT DUTHIE, an individual
residing in Montana,

Plaintiff,
V.

RIN, INC. a California corporation;
JEFF MILLER, an individual in
California, ALEXANDER “SASHA”
JENSON, an individual in California;
WARNER BROS. ENTERTAINMENT
INC., a Delaware corporation; and Does
1-10

Defendants.

 

 

 

Esq. (SBN 329192)

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

) CASE NO.:

)
) COMPLAINT FOR:

) |

) (J) DECLARATORY AND
)  INJUNCTIVE RELIEF
) (2) FRAUDULENT

) | CONCEALMENT; AND

) (3) TORTIOUS INTERFERENCE
) WITH ECONOMIC

) ADVANTAGE
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JURY TRIAL DEMANDED

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Plaintiff Scott Duthie (“Plaintiff’ or “Duthie”), on information and belief, alleges
as follows:

1. This litigation concerns the valuable intellectual property rights to “Rin Tin
Tin,” a famous German Shepherd canine character that starred in dozens of acclaimed,
international movies, television shows, and books. Collectively, Rin Tin Tin and Rin Tin
Tin related productions have spawned millions and millions of dollars in profits—even
helping to save a then-fledgling Warner Bros. back in the 1920s and 1930s.

2. Nine years ago, in 2011, Plaintiff—a motion picture and television producer
in Montana—was assigned 50% of all world-wide intellectual property rights in Rin Tin
Tin. Given the obvious value in that ownership, Plaintiff has becn interested in leveraging
those property rights to produce movies and shows, including bringing Rin Tin Tin back
to life on the big screen.

3. To his surprise, Plaintiff learned in late 2019 that Defendants were
developing and producing a new movie starring Rin Tin Tin. Plaintiff was understandably
concerned about being compensated for his 50% interest in the intellectual property and,
more importantly, questioned whether Defendants even recognized his ownership stake.
Defendants issued a press release at the time that seemed to suggest Defendants possessed
the entirety of the intellectual property in Rin Tin Tin—a factual inaccuracy with
enormous consequences to Plaintiff.

4. Plaintiff reached out to Defendants soon after the press release, inquiring
about the project. Despite months of emails and phone calls, Defendants have refused to
acknowledge the validity of Plaintiff's 50% ownership. Plaintiff therefore brings this
Complaint for declaratory and injunctive relief, including money damages.

PARTIES

5. Plaintiff Duthie is an individual residing within the State of Montana.

6. Plaintiff owns fifty (50) percent of the copyright interest in the character of
Rin Tin Tin.

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7. Upon information and belief, Defendant Rin, Inc. (“Rin Inc.”) is a
corporation formed under the laws of the State of California with its principal place of
business at 6374 Arizona Circle, Los Angeles, California 90045.

8. Upon information and belief, Defendant Jeff Miller (‘Miller’) is an
individual residing in the State of California and is a director and the chief executive
officer of Defendant Rin, Inc.

9. Upon information and belief, Defendant Alexander “Sasha” Jenson
(“Jenson”) is an individual residing in the State of California and is a director of
Defendant Rin, Inc. He is also Rin, Inc.’s secretary and chief financial officer.

10. Upon information and belief, Defendant Warner Bros. Entertainment Inc.
(“Warner Bros.”’) is a corporation formed under the laws of the State of Delaware with
offices at 4000 Warner Blvd., Burbank, California 91522.

11. The true names and capacities of Defendants DOES | through 10, inclusive,
are unknown, but Plaintiff alleges that these Defendants are responsible in some manner
for the acts, omissions, events or transactions alleged in this Complaint, and Plaintiff
therefore sues them by such fictitious names. Plaintiff will amend this Complaint to state
the true names and capacities of said Defendants when such names are ascertained.

12. Plaintiff is informed and believes and thereon alleges that at all times
material to this Complaint, Defendants and each of the Defendants fictitiously named, in
addition to acting for himself, herself or itself, and on his, her or its own behalf
individually, is and was acting as the agent, servant, employee and representative of, and
with the knowledge, consent and permission of, and in conspiracy with each and all of
the other Defendants and within the course, scope and authority of that agency, service,
employment, representation and conspiracy. Plaintiff further alleges on information and
belief that the acts of each of the Defendants was fully ratified by each and all of the
Defendants. Specifically, and without limitation, Plaintiff alleges on information and
belief that the actions, failures to act, breaches, conspiracy and misrepresentations alleged

herein and attributed to one or more of the specific Defendants were approved, ratified
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and done with the cooperation and knowledge of each and all of the Defendants.
JURISDICTION AND VENUE

13. This Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1338(a) because Plaintiff’s requested relief arises under the Copyright Act.

14.  Plaintiff’s requests for relief arise out of Defendants’ activities purposefully
aimed at this judicial district, and Defendants’ acts and the resulting consequences have
a substantial connection to this judicial district such that the exercise of jurisdiction is
reasonable. The exercise of jurisdiction over Defendants does not offend traditional
notions of fair play and substantial justice.

15. This Court has personal jurisdiction over Defendants in that they transact
business in California and within this judicial district.

16. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because
a substantial part of the events giving rise to Plaintiff’ s requests for relief occurred within
this judicial district. Venue is also proper in this district under 28 U.S.C. § 1400(a)
because Plaintiff’s requests for relief arise out of the Copyright Act and, upon
information and belief, each and every Defendant or their agent “resides or may be
found” within this judicial district.

RELEVANT HISTORY OF RIN TIN TIN
A. Development of the Rin Tin Tin Character

17. Rin Tin Tin is a beloved American character based on a German Shepherd
puppy discovered by Lieutenant Lee Duncan (“Duncan”) on a World War I battlefield in
Flirey, France in 1918.

18. The character Rin Tin Tin became famous in the United States primarily
because the character starred in twenty-three feature films between 1922 and 1931 that
have been credited with saving a then-fledgling Warner Bros., which was founded by

four brothers from Youngstown, Ohio in 1918.1

 

1 Susan Orlean, The Dog Star: Rin Tin Tin and the making of Warner Bros., The New Yorker, Aug. 22, 2011
(available at: https://www.newyorker.com/magazine/201 1/08/29/the-dog-star) (last visited Aug. 5, 2020).
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19. Shortly after the Rin Tin Tin character’s success at Warner Bros., the
character became a hit with television audiences after the production of 164 black and
white episodes of The Adventures of Rin-Tin-Tin, which ran from October 1954 through
May 1959 produced by Herbert Leonard (“Leonard”) with Duncan’s permission.

20. The original films and numerous appearances on radio dramas (in the years
before televisions became commonplace) sufficiently delineated the Rin Tin Tin
character to merit copyright protection for the character.

21. In 1960, Rin Tin Tin was honored with a star on the Hollywood Walk of
Fame.

22. Duncan and Leonard’s production company later entered into a March 24,
1955 letter agreement that assigned broad rights to Duncan’s life story and the Rin Tin
Tin character to Leonard’s production company.

23. The letter agreement expressly allowed Leonard’s production company to
include “or depict scenes, stories, plots and/or characterizations, either factual or
fictional, as [Leonard] may determine and that [Duncan] and Rin Tin Tin may be depicted
therein in such manner as [Leonard] may determine either under [Duncan’s] real name
or names or any other name or names selected by [Leonard].”

24. Two subsequent agreements between Duncan and Leonard’s production
company, on October 3, 1955 and March 1, 1957, each increased the breadth of the ri ghts
assigned to Leonard’s production company.

25. On August 30, 1962, Leonard’s production company assigned the
copyright registrations for each episode of The Adventures of Rin-Tin-Tin to Leonard
personally in a broad grant that included “but [was] not limited to, all of [his production
company’s] rights, title and interest in and to any copyrights on the literary, music,
dramatic and other material upon which the same are based or from which the same are
adapted, and all renewals and extensions of said copyrights that may be obtained under

the laws now or hereafter in force and effect in the United States of America or elsewhere

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26. After Duncan passed away, his widow, Eva Duncan (“Eva”), made three
broad assignments to Leonard that encompassed any intellectual property rights or
related rights to the Rin Tin Tin character that Leonard did not already own.

B. _ Leonard’s Financial Trouble

27. In the mid-1990s, Leonard included, as a security interest, in an agreement
with a creditor limited rights to revenue derived from a specific work he and a creditor
expected to produce featuring the Rin Tin Tin character. This included rights to some of
the television episodes that Leonard had produced featuring the character.

28. The agreement recognized that Leonard’s creditor would not “possess a
security interest in the contemplated ‘Rin Tin Tin’ motion picture production, the
copyright and distribution rights thereto, the underlying literary rights, the characters,
sequel, prequel and remake rights thereof, and any and all rights secured by [Leonard]
pursuant to the Eva Duncan contract.”

29. Ina December 15, 2000 agreement between Leonard and the same creditor,
Leonard again agreed to let the creditor recover monies owed by Leonard from the
revenue generated by specific and limited works featuring the Rin Tin Tin character.
C. Transfers of Rights to Max Kleven and Plaintiff

30. In 2002, Leonard was diagnosed with cancer and moved in, rent-free, with
his longtime friend, Max Kleven (“Kleven”), who was one of the stuntmen in The
Adventures of Rin-Tin-Tin.

31. In 2005, Leonard assigned all of the intellectual property rights that he
owned in and to the Rin Tin Tin character to Kleven.

32. On August 3, 2011, Kleven assigned a fifty (50) percent interest in all
intellectual property rights, including but not limited to copyright, in the United States
and worldwide in the Rin Tin Tin character to Plaintiff. (See Exhibit A.)

DEFENDANTS’ UNLAWFUL ACTIONS
33. On July 11, 2018, Defendant Miller threatened a lawsuit and contempt

proceedings based on public statements made by Kleven that Plaintiff owned fifty (50)

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percent of the intellectual property rights in the character Rin Tin Tin.

34. Upon information and belief, Defendant Miller negligently and incorrectly
believed that Defendants had obtained from Kleven one hundred (100) percent of the
copyright in the Rin Tin Tin character.

35. On February 9, 2015, Kleven filed a complaint (“Kleven’s 2015
Complaint”) against several parties, including Defendants Rin, Inc., Jenson, and Miller
alleging that they had manipulated the elderly Kleven into assigning away a fifty (50)
percent interest in the intellectual property rights to the character Rin Tin Tin (the 50%
Kleven retained after his 2011 assignment of 50% of the rights to Plaintiff).

36. Plaintiff was never a party to Kleven’s lawsuit.

37. According to Kleven’s 2015 Complaint, Defendant Jenson recommended
Defendant Miller, who was practicing law at the time, to handle various intellectual
property related issues for Kleven.

‘38. As described in Kleven’s 2015 Complaint, Jenson, Miller, and a third party
working with them misrepresented the terms of an agreement that Kleven signed on
February 1, 2013, relying on their misrepresentations (the “2013 Agreement”).

39. Upon information and belief, Defendants Jenson, Miller, and Rin, Inc.
convinced Kleven to file a lawsuit with them as plaintiffs to cancel eight federally
registered trademarks related to Rin Tin Tin that were owned by Belleair Trading
International, LLC (“Belleair Trading”).

40. Upon information and belief, Miller and one other principal of Rin, Inc.
drove to Kleven’s home and found Kleven working in the garden. Upon information and
belief, Kleven was not wearing his eyeglasses, which he needed to see, or his hearing
aids, which he needed to hear. Upon information and belief, Defendant Miller and
another principal of Defendant Rin presented Kleven with a document entitled Rin Tin
Tin Deal Memorandum Agreement, which they told Kleven he needed to sign as part of
their lawsuit against Belleair Trading. Upon information and belief, Kleven signed this

agreement without understanding that, upon successful conclusion of the lawsuit against
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Belleair Trading, it would form a new company redistributing the Rin Tin Tin
intellectual property.

41. Kleven’s 2015 Complaint alleged that Defendants Rin, Inc., Jenson, Miller,
and their partners systematically excluded Kleven from participation in the lawsuit
against Belleair Trading and meetings concerning the Rin Tin Tin intellectual property
where those Defendants entered into agreements that further diluted Kleven’s remaining
ownership interest.

42. Regardless, even assuming Kleven validly assigned his 50% ownership of
the Rin Tin Tin intellectual property to Defendants Rin, Inc., Jenson, and Miller, that
purported assignment of rights occurred after Kleven’s August 3, 2011 assignment of
fifty (SO) percent to Plaintiff.

43. Accordingly, Defendants could have only received a maximum of 50% of
the intellectual property rights to Rin Tin Tin.

PLAINTIFF LEARNS OF DEFENDANTS’ CURRENT PRODUCTION

44, On November 11, 2019, an article appearing on deadline.com reported that
Warner Bros. had set up a movie built around Rin Tin Tin. 2

45. Upon information and belief, Defendants fail to recognize Plaintiff’ s fifty
(50) percent interest in the intellectual property rights in the Rin Tin Tin character and
entered into an agreement to produce new movies and/or other audiovisual works based
upon the Rin Tin Tin character and intellectual property and profited thereby without
providing an accounting to Plaintiff.

46. After Plaintiff learned about Warner Bros.’s intention to create a movie
starring Rin Tin Tin, Plaintiff, through his counsel, contacted Defendant Warner Bros.
to inform it of Plaintiffs ownership rights in the Rin Tin Tin character.

47. Defendant Warner Bros. responded in an April 30, 2020 letter stating that

 

2 Mike Fleming Jr., Warner Bros Revives ‘Rin Tin Tin’ With ‘Addams Family’ Scribe Matt Lieberman; Hero
Hound Once Saved the Studio, Deadline, Nov. 11, 2019 (available at: https://deadline.com/2019/1 1/rin-tin-tin-
hew-movie-warner-bros-matt-lieberman-dog-saved-studio-1202781479/#!) (last visited October 29, 2020).

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Plaintiff's dispute was with Defendant Rin, Inc.

48. To date, no Defendant has made any payment to Plaintiff in accordance
with his ownership in Rin Tin Tin. Nor has any Defendant even recognized Plaintiff’s
valid 50% ownership in the Rin Tin Tin intellectual property.

COUNT ONE
(Declaratory and Injunctive Relief, 17 U.S.C. §§ 101 et seq.)
(Against all Defendants and DOES I - 10)

49. Plaintiff hereby incorporates by reference all preceding paragraphs of the
Complaint as if set forth herein at length.

50. As a 50 percent owner of the rights in and to the Rin Tin Tin character,
Plaintiff is entitled to an accounting of all monies derived from exploitation of that
character.

51. Given the lucrative nature of the intellectual property rights and the various
parties’ involvement, Plaintiff seeks a judgment declaring the Parties’ respective
ownership interests and intellectual property rights, as described below, and an order
requiring Defendants to provide an accounting as required by the Copyright Act.

COUNT TWO
(Fraudulent Concealment)
(Against Defendants Jenson and Miller and DOES I - 10)

52. Plaintiff hereby incorporates by reference all preceding paragraphs of the
Complaint as if set forth herein at length.

53. On information and belief, Defendants Jenson and Miller knowingly
concealed Plaintiff's ownership interest from third parties in an effort to gain a
competitive advantage and in order to profit at Plaintiffs’ expense and in a manner that
resulted in devaluation of the property at issue in this litigation. Defendants Jenson and
Miller excluded Plaintiff from critical business negotiations and opportunities all in an
effort to profit at Plaintiff's expense. Defendants negotiated with third parties

concerning Plaintiff's rights without Plaintiff’s knowledge to advance Defendants’
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COMPLAINT

 
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interests and profit at Plaintiff's expense. Upon information and belief, Defendants
Jenson and Miller intentionally kept Plaintiff’s rights concealed from third parties that
planned to invest a significant amount of time and energy into producing films exploiting
Plaintiff’s rights.

54. Upon information and belief, third parties negotiating with Defendants
Jenson and Miller would not have entered into those negotiations but for the
concealment of Plaintiff’s rights.

55. Defendants Jenson and Miller owed a duty to disclose Plaintiff’ s ownership
interest to third parties with whom they were negotiating.

56. Defendants Jenson and Miller owed a duty to Plaintiff to disclose Plaintiff’ s
ownership interest in the intellectual property rights at issue.

57.  Plaintiff’s fifty (50) percent ownership of the rights at issue is a material
fact in any negotiation concerning those rights.

58. At all relevant times, Plaintiff was unaware that Defendants were
representing to third parties that they owned the whole of the intellectual property rights
at issue.

59. As a direct and proximate result of this fraud and concealment, and
continuing conspiracy to conceal and defraud, Plaintiff has sustained damages in an
amount to be proven at trial.

60. By engaging in their intentional fraud and conspiracy to defraud,
Defendants Jenson and Miller intentionally acted with oppression, fraud, malice, in a
despicable manner and in conscious disregard for the rights of Plaintiff entitling Plaintiff
to an award of exemplary and punitive damages against these Defendants, the exact
amount to be proven at trial.

COUNT THREE
(Tortious Interference with Existing and Prospective Economic Advantages)
(Against Defendants Jenson and Miller and DOES I - 10)

61. Plaintiff hereby incorporates by reference all preceding paragraphs of the

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COMPLAINT

 
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Complaint as if set forth herein at length.

62. Plaintiff had a mutually beneficial economic relationship with Kleven
arising out of Plaintiff’s intellectual property rights discussed herein.

63. At all relevant times, Plaintiff was developing a movie that would have
utilized the Rin Tin Tin Rights.

64. Defendants Jenson and Miller knew of Plaintiff’s economic relationship
with Kleven and of Plaintiffs evolving economic relationships with third parties based
on their development of a movie utilizing Plaintiff's intellectual property rights in and
to the Rin Tin Tin character discussed herein.

65. Defendants Jenson and Miller knowingly and intentionally interfered with
these relationships. On information and belief, Defendants coerced, pressured, and
abused Kleven into signing over his remaining rights to the character Rin Tin Tin, and
in so doing, ascended to those rights in bad faith.

66. Defendants knowingly and intentionally disrupted Plaintiff's ongoing
relationship with Kleven and other third parties resulting in substantial monetary harm
to Plaintiff and such disruption was the direct and proximate cause of the monetary harm
suffered by Plaintiff.

67. By interfering as alleged herein, Defendants Jenson and Miller
intentionally acted with oppression, fraud, malice, in a despicable manner and in
conscious disregard for the rights of Plaintiff entitling Plaintiff to an award of exemplary
and punitive damages against these Defendants, the exact amount to be proven at trial.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests relief from Defendants’ actions in
the following form:

1. A declaration that Plaintiff owns fifty (50) percent of the Rin Tin Tin
character and is entitled to a pro rata share of any monies received by Defendants as a
result of Defendants’ exploitation of the Rin Tin Tin character;

2. An order requiring Defendants to provide an accounting to Plaintiff

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COMPLAINT

 
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demonstrating any monies they have made in connection with the Rin Tin Tin character
and, if any monies have been made through the exploitation of the character, that
Defendants make an appropriate payment to Plaintiff in accordance with his fifty (50)
percent ownership;

3. An injunction restraining Defendants from making false statements about
Plaintiff’s ownership interest or refusing to honor Plaintiff’s associated rights in the
future;

A. An award of compensatory and punitive damages to compensate Plaintiff

for Defendants’ actions;

5. An award of punitive damages;

6. Plaintiffs costs and reasonable attorneys’ fees associated with this action;
7. Prejudgment interest at the maximum legal rate; and

8. Such other relief as the Court deems just.

DATED: November 5, 2020 GARNER & ASSOCIATES LLP

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JOHN. GARNER

TADLER LAW LLP

Brian R. Morrison (pro hac vice
forthcoming)

One Penn Plaza, 36th Floor
New York, NY 10119
Telephone: (212) 946-9300
Fax: (929) 207-3746

bmorrison @tadlerlaw.com

DUFF LAW, PLLC
Anderson J. Duff (pro hac vice
forthcoming)

43-10 Crescent St. Ste. 1217
New York, NY 11101
Telephone: (646) 450-3607
Fax: (917) 920-4217

ajd@hoganduff.com

Attorneys for Plaintiff
SCOTT DUTHIE

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EXHIBIT A
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This Purchase and Assignment Agreement (the “Agreement") is signed and made
effective on this B® aay of August, 2011, by and between Max Kleven, an individual, and on behalf of (a)
any and all fictitious or other names under which he has operated or done business and (b) any and all
business entities of any type whatsoever that he presently controls, is the beneficiary of or owns in full or
in part (collectively, the "Assignor"), and Scott Duthie, an individual, and Angry Monkey Entertainment,
LLC (collectively, the "Assignee").

RECITALS

l. Assignor is the owner of all rights, including but not limited to copyright, in the United States
and worldwide to each and every episode of the television series Rin Tin Tin, including, by way of
illustration but not limitation, all of the particular episodes of the series, (the "Property’).

2. Assignor desires to assign to Assignee and Assignee desires to acquire from Assi gnor fifty percent
(50%) of all such rights, as well as the chain of title, to and for the Property in order to (a) produce a
feature length motion picture and to (b) cause to be generated an income from any and all ancillary
properties including, but not limited to a television series and animation series.

3, Assignor has exclusive right and full authority to sell his ownership interests and rights in the
Property as well as the ownership interests and rights held by (a) any and all fictitious or other names under
which Max Kleven, located at 33150 Barber Road, Agua Dulce, CA 91390, has Operated or done business
and (b) any and all business entities of any type whatsoever that he presently controls, is the beneficiary of
or owns in full or in part.

NOW, THEREFORE, in consideration of the foregoing, of the covenants, promises and
undertakings set forth herein, and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, Assignor and Assignee agree as follows:

ARTICLE 1.
DEFINITIONS

As used in this Agreement, the following terms shall have the following meanings:

| “Rights” shall refer to the following rights on an exclusive basis throughout the world in
perpetuity: the entire copyright and all rights, title and interest, of every type and nature now known or
hereafter devised, in and to the Property, including but not limited to the following:

1.1.1 the entire copyright and all right, title and interest, of every type and nature now known or
hereafter devised, in and to the Property;

1.1.2 all copyrights, all motion picture rights of every kind, i
motion picture rights, television motion picture rights, and ho
derivative rights, including, without limitation, sequel a

luding, without limitation, theatrical
ts, and all allied, subsidiary and
ghts, novelization and publication

    
 
  

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Page | of 7 | Assignor’s Initials
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rights, music publishing rights, soundtrack album rights, merchandising rights (including, without
limitation the exploitation and/or licensing of characters and other elements of the Property for all types of
goods, services and theme parks and other types of attractions), stage rights, radio rights, and promotional
and advertising rights (including, without limitation, the right to broadcast, over radio, television and all
other media, advertisements with respect to motion pictures or other productions produced hereunder);

1.13 the right(s) to change, alter and modify the Property, and distribute, transmit, exhibit, broadcast,
and otherwise exploit all motion pictures or other productions produced pursuant to this Agreement
(including, but not limited to, ancillary or derivative works) by means of any and all media and devices
whether now known or hereafter devised, including, without limitation, in theatres, on television, video
cassettes and discs, computer and/or electronic assisted media, including, without limitation, CD-ROM,
DVD-ROM and other similar disc systems or digital media, interactive cable, interactive media, on-line
services, character, theme park and in any and all markets, methods or media whatsoever now known or
hereafter devised;

1.1.4 the right to make, in Assignee’s exclusive discretion any and all changes in, additions to, and
deletions from the Property;

1.15 any and all new, changed, altered or modified rights to the Property that may come into being
and/or be recognized in the future, under the law and/or in equity (the "New Exploitation Rights"), and
Assignor intends to and does hereby grant and convey to Assignee any and all such New Exploitation
Rights to the Property granted by Assignor hereunder. Assignor and Assignee are also aware and do hereby
acknowledge that new (or changed) (a) technology, (b) uses, (c) media, (d) formats, (e) modes of
transmission, and (f) methods of distribution, dissemination, exhibition or performance (the "New
Exploitation Methods") are being and will inevitably continue to be developed in the future, which would
offer new opportunities for exploiting the Property;

1.1.6 the right to require Assignor to execute any document consistent herewith which Assignee
reasonably deems in its interest to confirm the existence of the preceding and to effectuate its purpose to
convey such rights to Assignee, including without limitation the New Exploitation Rights and any and all
New Exploitation Methods;

1.1.7 the right to obtain the full benefit of applicable protection under copyright, trademark and any
other applicable law throughout the world with respect to any exercise of Assignee’s rights hereunder
in the name of Assignee and/or Assignee’s designees; and

1.1.8 the right to manufacture, sell, license, advertise, promote, furnish, supply and distribute
products, by-products, services, facilities, merchandise and commodities of every nature and
description, including, without limitation, video games, artwork, toys, games, items of wearing
apparel, food, beverages and similar items which make reference to or are based upon or adapted from
the Property or any part thereof or any motion picture or television program based on the Property or
any part thereof (including the title thereof) (the "Merchandising Rights").

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ARTICLE 2.

OBLIGATIONS OF,
AND REPRESENTATIONS AND WARRANTIES BY,
ASSIGNOR

2.1 Assignment of Rights. Upon execution of this Agreement subject to the terms and conditions
as defined hereunder, and for the consideration herein set forth, Assignor hereby sells, grants, conveys
and assigns fifty percent (50%) of the Rights and the fifty percent (50%) ownership of the complete
chain of title to the Property.

2.2 All Rights Conveyed. Assignor agrees that to the fullest extent permitted by law, this
Agreement constitutes the assignment and conveyance of all of Assignor’s right, title and interest in
and to the Property throughout the world in perpetuity.

23 No Duty to Exploit. Nothing contained in this Agreement shall be construed as requiring
Assignee to exercise or exploit any of the rights granted to or acquired by Assignee under this
Agreement,

24 Chain of Title. Assignor will provide to Assignee as quickly as is practicable a clean and
complete chain of title to the Property and each element or episode thereof, including: (i) a written
summary of the Property’s development history; (ii) all documentation, including, but not limited to:
transfers of rights agreements, writers agreements, option/purchase agreements, publisher’s releases,
and all other agreements demonstrating that Assignor holds the exclusive worldwide rights to the
Property without limitation,

2.5 Other Material, Assignor further agrees to provide all other documents or materials, in any
and all forms and/or media, in Assignor’s possession or control, or within the possession or control of
any of Assignor’s employees, agents, attorneys or any other persons under the control of Assignor,
which comprise, concem or relate to the Property in any way or manner.

2.6 Representations and Warranties. Assignor represents, warrants and agrees that:

2.6.1 | Neither the Property, nor any part or element thereof: (i) infringes upon or violates the
copyright or trademark rights of any person or entity; or (ii) to the best knowledge of Assignor after
due inquiry, contains any element or material which in any manner constitutes a libel, slander or other
defamation of any person or entity or infringes on the personal or property rights or any other rights of
any person or entity (including, without limitation, privacy or publicity);

2.6.2 The Property, the Rights and all other rights and privileges granted or to be granted
to Assignee hereunder are free and clear of any liens, claims, charges or encumbrances:

2.6.3 No claims, litigation or other proceedings have heretofore been asserted and/or brought and no
claims, litigation or proceedings are pending or threatened relating to the Property, the Rights and/or
to any of the other rights and privileges granted or to be granted to Assignee hereunder;

2.6.4 Assignor is the sole and exclusive owner of the Property, and all of the Rights, and of all
other rights and privileges granted or to be granted to Assignee hereunder and Assignor has full right,
power and authority to make and perform this Agreement without obtaining the consent or approval of
any person or entity;

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2.6.5 No part of the Property is in the public domain (except for minor and incidental material
therein);

2.6.6 Assignor has not heretofore in any way exercised or disposed of the Rights or any part thereof.
Without limiting the generality of the foregoing, the Property has not previously been performed,
exploited or exhibited as a motion picture, television production, audio-visual production, play or
other form, except as originally previously exploited and therefore already an element of the Property
itself, and no rights have been granted or licensed to any third party to do so.;

2.6.7 The Property may be validly copyrighted and registered for copyright in the United States of
America and may similarly be protected elsewhere to the maximum extent that the laws of other
countries provide for such protection;

2.6.8  Assignor has not done or omitted to do, nor will Assignor do or omit to do, any act or thing
which would impair, encumber or diminish Assignee’s full enjoyment of the Rights and all other
rights and privileges granted and to be granted to Assignee under this Agreement.

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ARTICLE 3.

OBLIGATIONS OF,
AND REPRESENTATIONS AND WARRANTIES BY,
ASSIGNEE

3.1 Payment. Assignee has previously paid to Assignor the sum of one dollar ($1.00) as
consideration for this Agreement, the receipt of which is hereby acknowledged by Assignor.

3.2 No Other Obligations. Assignor acknowledges that Assignee has no obligations under this
Agreement.

ARTICLE 4,

MISCELLANEOUS PROVISIONS

4.1 Signatory Authority. Each individual and entity executing this Agreement hereby represents
and warrants that he has the capacity set forth on the signature pages hereof with full power and
authority to bind the party on whose behalf he is executing this Agreement without duress to the
terms hereof.

42 Entire Agreement. This Agreement, together with the Exhibits attached hereto, all of which
are incorporated by reference, represents the entire agreement between the parties with respect to the
subject matter hereof, and no alteration, modification or interpretation hereof shall be binding unless in
writing and signed by both parties. This Agreement is the result of negotiations between the parties
and, accordingly, shall not be construed for or against either party regardless of which party drafted this
Agreement, or any portion thereof. The making, execution and delivery of this Agreement by the
parties hereto has been induced by no representations, statements, warranties or agreements other than
those expressly set forth herein.

43 Severability. If any provision of this Agreement or application to any party or circumstances
shall be determined by any court of competent jurisdiction to be invalid or unenforceable to any extent,
the remainder of this Agreement or the application of such provision to such person or circumstances,
other than those as to which it is so determined invalid or unenforceable, shall not be affected thereby,
and each provision hereof shall be valid and shall be enforced to the fullest extent permitted by law.

44 Interpretation. Wherever possible, each provision of this Agreement shall be interpreted in
such a manner as to be valid under applicable law. The language in all parts of this Agreement shall be
in all cases construed simply according to its fair meaning and not strictly for or against any of the
parties hereto for any reason. Section headings of this Agreement are solely for convenience of
reference and shall not govern the interpretation of any of the provisions of this Agreement.

45 Applicable Law: Venue. This Agreement shall be governed by and construed in accordance
with the laws of the State of California, without reference to the conflicts-of-laws rules and principles
of such state. This Agreement shall be deemed executed and performed within the County of Los
Angeles and venue shall be deemed proper in the state and/or f@lera) courts located therein.

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46 Assignability. Assignee may assign this Agreement in any manner Assignee shall choose in
their exclusive discretion. No assignment shall release Assignee herein named from any obligation or
liability under this Agreement. Any assignee shall be deemed to have made any and all representations
and warranties made by Assignee hereunder, as if the assignee were the original signatory hereto.

47 Successors Bound. This Agreement shall be binding upon and inure to the benefit of each of
the parties, hereto and to, their respective transferees, successors, and assigns subject to the limitations
specified in this Agreement.

48 Captions. The captions in this Agreement are inserted only as a matter of convenience and for
reference and in no way define, limit or describe the scope of this Agreement or the scope or content of
any of its provisions.

49 Attomey’s Fees. If either Assignee or Assignor brings any suit or other proceeding relating
to or arising out of this Agreement, the transactions described herein or the enforcement hereof, or
with respect to a breach of a representation or warranty hereunder, the prevailing party (as determined
by the court, agency or other authority before which such suit or proceeding is commenced) shall, in
addition to such other relief as may be awarded, be entitled to recover attorneys’ fees, expenses and
costs.

 
  
   

4.10 OOF E ee g nd Assignee. Assignor and Assignee agree to fully cooperate
with each other and utilize their best efforts in regard to the satisfaction of the conditions precedent to
Assignee’s obligation to purchase the Property by Assignor.

4.11 Notice. Any notice required or permitted to be given hereunder shall be deemed to be given
when hand delivered, received within normal business hours by facsimile transmission at such
numbers as shall be provided by and between the parties, or one (1) business day after pickup by
overnight express mail services such as Federal Express, in either case addressed to the parties at their
respective addresses referenced below:

If to Assignee:
Scott Duthie
33150 Barber Road
Agua Dulce, CA 91390
and
Angry Monkey Entertainment
9005 Overlook Boulevard
Brentwood, TN 37027
If to Assignor:
Max Kleven

33150 Barber Road
Agua Dulce, CA 91390

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4.12 No Partnership. Notwithstanding anything to the contrary contained or implied herein, this
Agreement shal] not be deemed or construed to make the parties hereto partners or joint venturers, or
to render either party liable for any of the debts or obligations of the other, it being the intention of
the parties to merely create the relationship of Assignor and Assignee with respect to the Property to
be conveyed as contemplated hereby.

4.13 Time of Essence. Time is of the essence in this Agreement.

4.14 Counterparts. This Agreement may be executed and delivered in any number of counterparts ,
each of which so executed and delivered shall be deemed to be an original and all of which shall
constitute one and the same instrument.

4.15 Effect of Waiver. No waiver of any provision of this Agreement shall be considered a waiver
of any subsequent breach of the same or breach of any other provision of this Agreement.

4.16 Representation by Counsel, This Agreement shall be deemed drafted as a result of the mutual
negotiations of the parties and each party agrees that this Agreement was negotiated in good faith by
and between the parties. No party shall claim any benefit or injury resulting from having any
particular party’s attorney(s) involved in the preparation of this Agreement. Each party acknowledges
that he/it has been advised to seek legal counsel prior to signing this Agreement, has been given the
opportunity to do so and that by signing this Agreement each party acknowledges that either he/it did seek
independent fegal counselor consciously and purposefully did not do so.

4.17 Joint and Several Liability. If either party to this Agreement consists of more than one person,
each such person shal] be jointly and severally liable under this Agreement.

4.18 Amendment. This Agreement may be amended only by a written instrument executed by the
party or parties to be bound.

419 No Third party Beneficiary. This Agreement is for the sole benefit of Assignee and Assignor and is
not for the benefit of any third party.

SIGNATURES

IN WITNESS WHEREOF, Assignee and Assignor have executed this Agreement on the date set forth in

 

 

 

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